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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

  TODD C. BANK,                                                   1:19-cv-6543-RRM-RLM

                                                  Plaintiff,      NOTICE OF MOTION

                          -against-

  FLUENT, INC, and REWARD ZONE USA, LLC,

                                                  Defendants.


        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and all other

 pleadings and proceedings herein, Plaintiff, Todd C. Bank, will move this Court, on a date and at

 a time to be designated by the Court, before Roslynn R. Mauskopf, United States District Judge, for

 an Order: (i) striking, pursuant to Rule 12(f)(2) of the Federal Rules of Civil Procedure, portions of

 Defendants’ Answer (Dkt. No. 8) to the Amended Complaint (Dkt. No. 7); and (ii) granting, to

 Plaintiff, any other lawful and proper relief.

 Dated: January 13, 2020
                                                                Respectfully submitted,

                                                                  s/ Todd C. Bank
                                                                TODD C. BANK
                                                                 ATTORNEY AT LAW, P.C.
                                                                119-40 Union Turnpike, Fourth Floor
                                                                Kew Gardens, New York 11415
                                                                (718) 520-7125
                                                                By Todd C. Bank

                                                                Counsel to Plaintiff

 TO:    KLEIN MOYNIHAN TURCO LLP
        450 Seventh Avenue
        New York, New York 10123
        (2l2) 246-0900

        Counsel to Defendants
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and accurate copy of this document, and the accompanying
 memorandum of law, is being filed electronically on January 13, 2020, via the Court’s electronic-
 case-filing (ECF) system. Notice of this filing will be sent by the Court’s ECF system to all parties,
 and copies will be mailed to those parties, if any, that are not served in such manner.

 Dated: January 13, 2020

                                                                 s/ Todd C. Bank
                                                               Todd C. Bank
